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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

LAKE FOREST PARTNERS, L.P., and MARY                  ) Civil Action No. 2:12-cv-00999-AJS
ANASTASIA LAPIC, for themselves and all               )
others similarly situated,                            )
                                                      )
                              Plaintiffs,             )
     vs.                                              )            Electronically Filed
                                                      )
SPRINT COMMUNICATIONS COMPANY                         )
L.P., QWEST COMMUNICATIONS                            )
COMPANY, LLC, LEVEL 3                                 )
COMMUNICATIONS, LLC, and WILTEL                       )
COMMUNICATIONS, LLC,                                  )
                                                      )
                              Defendants.             )


 JOINT MOTION FOR FINAL APPROVAL OF CLASS-ACTION SETTLEMENT AND
  FOR AWARD OF ATTORNEYS’ FEES AND EXPENSES TO SETTLEMENT CLASS
      COUNSEL AND INCENTIVE AWARD TO CLASS REPRESENTATIVES


       Plaintiffs respectfully move the Court under Federal Rule of Civil Procedure 23(e) for

final approval of this class-action Settlement, and under Rules 23(h) and 54(d)(2) for an award of

attorneys’ fees and expenses to Settlement Class Counsel and incentive compensation to the

class representatives. The Settling Defendants join in the request for final approval and do not

oppose the fee-award and incentive-compensation request. The grounds for the motion are set

forth in the accompanying Plaintiffs’ memorandum of law in support. The Court has scheduled a

fairness hearing on June 17, 2013 at 9:00 a.m. at which it will consider the relief requested in the

motion.

       Dated this 16th day of May, 2013.

                                              Respectfully submitted,

                                              s/Eric E. Caugh
                                              Eric E. Caugh (MN 026703X) (pro hac vice)
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on May 16, 2013, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, which will send notification of such filing to all counsel of

record.


                                                s/Eric E. Caugh
                                                Eric E. Caugh

                                                Attorney for Plaintiffs Lake Forest Partners, L.P.
                                                and Mary Anastasia Lapic




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